          Case 1:24-cr-10222-RGS Document 2 Filed 07/30/24 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                       )
                                                   Criminal No.    24cr10222
                                               )
                v.                             )   Violation:
                                               )
 CLINTON GREYLING,                             )   Count One: Acting as an Unregistered Broker;
                                               )   Aiding & Abetting
                        Defendant              )   (15 U.S.C. §§ 78o(a)(1) and 78ff(a);
                                               )   18 U.S.C. § 2)
                                               )
                                               )   Forfeiture Allegation:
                                               )   (18 U.S.C. § 981(a)(1)(C) and
                                               )   28 U.S.C. § 2461(c))
                             RELATED CASE CERTIFICATION

       Pursuant to Local Rule 40.1(h)(5)(B), the government hereby files this certification

stating the basis for the government’s related case designation in the Criminal Case Cover Sheet

filed in connection with the Information in this matter. This matter involves allegations that the

Defendant, Clinton Greyling, assisted another individual (“Individual 1”) to act as an

unregistered broker in connection with sales of the securities Alterola Biotech Inc., Token

Communities Ltd., and other securities to individuals throughout the United States. See

Information ¶ 6. The Information includes a forfeiture allegation, and the government

anticipates soon filing a plea agreement pursuant to which the Defendant has agreed to forfeiture

an amount to be determined at sentencing not to exceed $628,610.

       In the Criminal Case Cover Sheet, the government identified the following earlier-filed

civil case as a related case: Securities & Exchange Commission v. Trends Investments Inc., et

al., 22-cv-10889-RGS (the “Civil SEC Case”). That matter involves allegations that the

Defendant and others engaged in a scheme to defraud investors in private offerings of shares in

publicly traded companies, including Alterola Biotech Inc. and Token Communities Ltd.
          Case 1:24-cr-10222-RGS Document 2 Filed 07/30/24 Page 2 of 2




       The Civil SEC Case also involves an overlapping allegation with the Information that one

of the civil defendants acted as unregistered broker in violation of the securities laws, and the

proceeds alleged to have been generated from the charged offenses in both the criminal and civil

cases are overlapping. Pursuant to a consent executed by the Defendant, the Court in the Civil

SEC Case entered a judgment against the Defendant on September 23, 2022 in which the Court

left open the possibility of ordering disgorgement upon a motion from the Securities & Exchange

Commission (“SEC”). The plea agreement the government anticipates filing in this criminal

matter contains a government agreement to credit toward the Defendant’s forfeiture money

judgment any funds paid within 120-days of sentencing to SEC for purposes of the Defendant’s

disgorgement obligation, if any, in the Civil SEC Case. Accordingly, the government

respectfully submits that this criminal case and the Civil SEC Case are related cases pursuant to

Local Rules. 40.1(h)(2) and (g)(2).

                                                              Respectfully submitted,

                                                              JOSHUA S. LEVY
                                                              Acting United States Attorney



                                                      By:
                                                              JAMES R. DRABICK
                                                              Assistant United States Attorney


Date: July 30, 2024




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